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                                                          November 3, 2020
                                       The request to modify the conditions of the
     Hon. Loretta A. Preska            Defendant's release to permit the travel requested
     United States District Judge      below is GRANTED.
     United States District Court
     Southern District of New York     SO ORDERED.                          Dated: November 4, 2020
     500 Pearl Street                                                              New York, New York
     New York, NY 10007

                                   Re: United States v. Adelekan, et al., _________________________
                                       19-CR-291 (LAP)                    LORETTA A. PRESKA, U.S.D.J.

     Dear Judge Preska:

             Defendant Oluwaseun Adelekan, through counsel, respectfully submits this request to
     modify the conditions of his release to permit him to travel to Houston, Texas, from November 7
     to 14 and from November 23 to 30, 2020. Pretrial Services takes no position on this request and
     informs that Mr. Adelekan is in full compliance with the conditions of his release. The
     Government defers to Pretrial Services.

            The reason for the travel is to visit his son and his son’s mother, Ms. Gifty Ansah. If
     permitted, Mr. Adelekan will travel by plane to Houston. He will stay with Ms. Ansah at her
     home in Katy, Texas at the address previously provided to Pretrial Services.

            Mr. Adelekan traveled to Houston with the Court’s permission in mid-July, mid-August,
     and mid-September and returned from those previous trips as promised. He has continued to
     comply with all of the conditions of his release.

            Thank you for your consideration of this request.

                                                          Respectfully,
                                                          ____/s/______
                                                          Richard Rosenberg, Esq.
     Cc:    All counsel (by ECF)
            US Pretrial Services (by email)
            Oluwaseun Adelekan (by email)
